Case 5:04-cr-50134-RGJ-MLH        Document 290      Filed 04/12/11    Page 1 of 19 PageID #:
                                         1285



                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA
                               SHREVEPORT DIVISION


 UNITED STATES OF AMERICA                         CRIMINAL NO. 04-50134-03
                                                  CIVIL NO. 08-1394
 VERSUS
                                                  JUDGE S. MAURICE HICKS, JR.

 RICHARD RANDALE JACKSON                          MAGISTRATE JUDGE HORNSBY


                                 MEMORANDUM RULING

        Before this Court is a Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside, or

 Correct Sentence by a Person in Federal Custody (Record Document 230) filed on behalf

 of Petitioner, Richard Randale Jackson. Jackson seeks an order from the Court vacating

 and setting aside Count Two of his conviction based on the following grounds: (1)

 insufficient evidence to prove Count Two of the indictment– conspiracy to distribute crack

 cocaine, (2) A claim of actual innocence as to Count Two, (3) ineffective assistance of

 counsel, and (4) federal statute 21 U.S.C. § 852 creates a liberty interest in which this

 Court is compelled to use treatment, rehabilitation, or education as an alternative to

 conviction or criminal penalties for those who violate federal drug laws. For the reasons

 below, Jackson’s motion is DENIED.

                                FACTUAL BACKGROUND

        On June 23, 2005, a federal grand jury returned a third superseding indictment

 against Richard Randale Jackson (“Jackson”), Eric German (“German”), and Felicia Smith

 (“Smith”). [Record Document 78]. The Petitioner, Jackson, was named in Count Two

 (conspiracy to distribute crack cocaine in violation of 21 U.S.C. §§ 841(a)(1) and 846), and

                                       Page 1 of 19
Case 5:04-cr-50134-RGJ-MLH       Document 290       Filed 04/12/11    Page 2 of 19 PageID #:
                                        1286



 Counts Six through Ten (possession with intent to distribute cocaine or crack cocaine in

 violation of 21 U.S.C. §§ 841(a)(1)). Id. Counts Six through Ten were based on a

 government informant’s five controlled purchases of crack cocaine from Jackson between

 December 2003 and April 2004. The conspiracy charge in Count Two was based on the

 following evidence: a government pen register showing Jackson made 273 phone calls to

 German during the months of January through April 2004; phone records collected from

 Germans’ trash; a drug ledger with a reference to a person named “Black”; Kelvin Gay’s

 testimony that Jackson’s street name was “Black”; Gay’s testimony that Jackson had taken

 over Gay’s turf while he was in prison; and Gay’s testimony which described several drug

 transactions with Jackson involving as much as 18 ounces of crack cocaine as well as the

 pickup of large quantities of cash on six or seven occasions.

        On August 17, 2005, after an eight-day jury trial, Jackson was found guilty as

 charged on Count Two and Counts Six through Ten. [Record Document 145]. Jackson was

 then sentenced on December 8, 2005, to a term of 360 months for each count (Count Two,

 Six, Seven, Eight, Nine, Ten) with the sentences to run concurrently. [Record Document

 172]. Petitioner was also sentenced to be on supervised release for 10 years following

 imprisonment as to Count Two and 8 years of supervised release as to Counts Six through

 Ten, to run concurrently with one another and to the term imposed on Count Two. Id. The

 United States Court of Appeals for the Fifth Circuit affirmed the defendant’s conviction on

 May 14, 2007. [Record Document 214]; See United States v. German, 486 F.3d 849 (5th

 Cir. 2007).

        On May 14, 2008, Jackson filed a Motion Under 28 U.S.C. § 2255 to Vacate, Set

 Aside, or Correct Sentence. [Record Document 230]. The Petitioner asserts that he is

                                       Page 2 of 19
Case 5:04-cr-50134-RGJ-MLH        Document 290        Filed 04/12/11     Page 3 of 19 PageID #:
                                         1287



 actually innocent as to Count Two’s conspiracy charge and that the government did not

 prove beyond a reasonable doubt that he was involved in a conspiracy with German and

 Smith. The Petitioner also argues that he was denied his Sixth Amendment Constitutional

 right to effective assistance of counsel. Jackson’s ineffective assistance of counsel claim

 is based on the allegation that (a) his trial counsel failed to conduct a reasonable

 investigation into the facts of this case so that he could properly challenge the prosecutor’s

 theory of conspiracy between the co-defendants; (b) counsel failed to argue that the

 prosecutor must prove that Petitioner, German, and Smith had an agreement to commit a

 crime; (c) counsel failed to request that the jury be given specific instructions on the

 elements of the conspiracy charge and the government’s burden of proof for such charge;

 (d) counsel failed to request jury instructions on the buyer/seller relationship defense; (e)

 counsel failed to request relief from prejudicial joinder under Rule 14 of the Federal Rules

 of Criminal Procedure; and (f) counsel failed to substantiate claims and prove facts that

 would have exonerated Jackson as to Count Two of the indictment in the Fifth Circuit Court

 of Appeals.

                                    LAW AND ANALYSIS

        After conviction and exhaustion of a defendant’s right to appeal, the Court is “entitled

 to presume that the defendant stands fairly and finally convicted.” United States v. Shaid,

 937 F.2d 228, 231-32 (5th Cir. 1991) (en banc), (quoting United States v. Frady, 456 U.S.

 152, 164; 102 S.Ct. 1584, 1592; 71 L.Ed.2d 816 (1982).              “Our trial and appellate

 procedures are not so unreliable that we may not afford their completed operation any

 binding effect beyond the next in a series of endless post conviction collateral attacks. To

 the contrary, a final judgement commands respect.” Frady, 456 U.S. at 164-65, 102 S.Ct.

                                         Page 3 of 19
Case 5:04-cr-50134-RGJ-MLH        Document 290       Filed 04/12/11     Page 4 of 19 PageID #:
                                         1288



 at 1593. Consequently, issues that can be presented in a motion filed under 28. U.S.C. §

 2255 are limited.    A defendant can challenge a final conviction only on issues of

 constitutional or jurisdictional magnitude. Shaid, 937 F.2d at 232. As the Fifth Circuit has

 stated:

               Relief under 28 U.S.C.A. § 2255 is reserved for transgressions
               of constitutional rights and for a narrow range of injuries that
               could not have been raised on direct appeal and would, if
               condoned, result in a complete miscarriage of justice.
               Nonconstitutional claims that could have been raised on direct
               appeal, but were not, may not be asserted in a collateral
               proceeding.

 United States v. Vaughn, 955 F.2d 367, 368 (5th Cir. 1992) (citations omitted).

        Even if a defendant has issues that are constitutional or jurisdictional in nature, he

 may be procedurally barred from raising them. In order to raise an issue for the first time

 on collateral review, a defendant must show both “cause” for his procedural default and

 “actual prejudice” resulting from the error. Frady, 456 at 168; United States v. Segler, 37

 F.3d 1131, 1133 (5th Cir. 1994) (citing Shaid, 937 F.2d at 232). To establish “cause,”

 defendant must show some external impediment prevented him from raising the claim on

 direct appeal. See United States v. Flores, 981 F.2d 231, 235 (5th Cir. 1993). In order to

 meet the “actual prejudice” test, he must demonstrate not just the possibility of prejudice,

 “but an actual and substantial disadvantage, infecting his entire trial with error of

 constitutional dimension.” Shaid, 937 F.2d at 233. A narrow exception to the cause and

 actual prejudice requirement exist in extraordinary cases “in which a constitutional violation

 has probably resulted in the conviction of one who is actually innocent.” Id. at 232. The

 Supreme Court has emphasized that this exception is limited to only those cases involving

 “manifest miscarriages of injustice” that would result in the continued incarceration of an

                                        Page 4 of 19
Case 5:04-cr-50134-RGJ-MLH         Document 290       Filed 04/12/11     Page 5 of 19 PageID #:
                                          1289



 innocent person. Id., citing Smith v. Murray, 477 U.S. 527, 537, 106 S.Ct. 2661 2667, 91

 L.Ed. 2d 434 (1986). The Supreme Court in Kuhlmann v. Wilson requires:

               federal courts to entertain successive petitions when a
               petitioner supplements a constitutional claim with a “colorable
               showing of factual innocence.” The miscarriage of justice
               exception to cause serves as “an additional safeguard against
               compelling an innocent man to suffer an unconstitutional loss
               of liberty,” Stone v. Powell, 428 U.S., at 492-493, n. 31, 96
               S.Ct., at 3051, n. 31, guaranteeing that the ends of justice will
               be served in full.

 Kuhlmann v. Wilson, 477 U.S. 436, 454, 106 S.Ct. 2616, 2627 (1986).

        1. Sufficiency of the Evidence

        A sufficiency of the evidence challenge may be a constitutional issue which is

 cognizable in a § 2255 motion. See Jackson v. Virginia, 443 U.S. 307; 99 S.Ct. 2781

 (1979). However, “It is settled in this Circuit that issues raised and disposed of in a previous

 appeal from an original judgment of conviction are not considered in § 2255 Motions.”

 United States v. Kalish, 780 F.2d 506 (5th Cir. 1986) citing United States v. Jones, 614

 F.2d 80, 82 (5th Cir. 1980). Petitioner’s challenge to the sufficiency of the evidence to prove

 Count Two was raised on direct appeal and has already been denied in the following ruling:

               The evidence against Jackson is considerable. First, an
               informant testified about five purchases of crack cocaine from
               Jackson between December 16, 2003 and April 13, 2004.
               Second, there is evidence of frequent phone contact between
               Jackson and German, including 273 phone calls over a period
               of four months in 2004. This evidence takes the form of both
               phone records pulled from German's trash and pen register
               evidence. Third, a drug ledger was pulled from German's trash
               that referenced a person named “Black.” Kelvin Gay then
               testified that Jackson's street name was “Black.” And fourth,
               Kelvin Gay testified that German told him that Jackson had
               taken over Gay's turf while he was in prison. Gay also
               described drug transactions with Jackson involving as much as
               18 ounces of crack.

                                     Page 5 of 19
Case 5:04-cr-50134-RGJ-MLH        Document 290        Filed 04/12/11     Page 6 of 19 PageID #:
                                         1290



 German, 486 F.3d at 852.

        Petitioner argues (as his attorney did in his earlier Fifth Circuit Appeal) that

 Kelvin Gay’s statements cannot be used to connect Jackson to the conspiracy

 because the facts which Gay testified to could not have physically occurred under

 the laws of nature. He states that Gay testified that he delivered 18 ounces of crack

 cocaine in January or February of 2000, a time period when Gay was in prison.

 However, after a thorough review of the trial transcripts, the record does not reflect

 such a statement. This Court finds that Gay testified he delivered crack cocaine to

 Jackson shortly after he was released from prison in November of 20001, not early

 2000, as the Petitioner states in his memorandum. Once again, this argument

 concerning the physical impossibility of Gay’s testimony has already been

 addressed and dismissed by the Fifth Circuit:

               Jackson asks us to ignore Gay's testimony as
               incredible, arguing that Gay and Jackson were not on
               the street at the same time. Yet Gay was out of prison
               from November of 2000 through October 2001, a period
               about which he testified. The determination of witness
               credibility is the province of the jury, and we will not
               disturb its finding unless the witness asserted “facts that
               the witness physically could not have observed or
               events that could not have occurred under the laws of



        1
          The Fifth Circuit has held that “a guilty verdict may be sustained if supported only
 by the uncorroborated testimony of a coconspirator, even if the witness is interested due
 to a plea bargain or promise of leniency, unless the testimony is incredible or insubstantial
 on its face.” United States v. Gadison, 8 F.3d 186, 190 (5th Cir.1993); United States v.
 Hernandez, 962 F.2d 1152, 1157 (5th Cir.1992). Testimony is incredible as a matter of law
 only if it relates to facts that the witness could not possibly have observed or to events
 which could not have occurred under the laws of nature. Gadison, 8 F.3d at 190; United
 States v. Hoskins, 628 F.2d 295, 297 (5th Cir. 1980), cert. denied, 449 U.S. 987, 101 S.Ct.
 406, 66 L.Ed.2d 249 (1980); United States v. Bermea, 30 F.3d 1539, 1552 (5th Cir. 1994).

                                     Page 6 of 19
Case 5:04-cr-50134-RGJ-MLH       Document 290       Filed 04/12/11    Page 7 of 19 PageID #:
                                        1291



               nature.” We accept the jury's beyond a reasonable
               doubt finding as rational.

 Id.

        Furthermore, Petitioner’s admission that he purchased the drugs from Gay

 authenticate at least parts of Gay’s testimony and shows that such an occurrence was not

 physically impossible. This Court will not reconsider the sufficiency of evidence claim as

 such claim was already denied by the Fifth Circuit Court of Appeals and is procedurally

 barred from being revisited in § 2255 motions. Kalish, 780 F.2d at 506.

        2. Claim of Factual Innocence

        Under Kuhlmann, Jackson can supplement a constitutional violation with a colorable

 showing of factual innocence. Other than Jackson’s self-serving statement that he is

 innocent, Jackson presents no new factual findings or evidence of factual innocence. In

 Petitioner’s attempt to prove innocence, he uses the same arguments as his counsel used

 in the sufficiency of the evidence challenge made in the earlier appeal. Petitioner’s

 innocence claim is based on an alleged impossibility with the time line which Gay laid out

 in his testimony, Gay’s lack of credibility, the lack of direct evidence showing a concrete

 agreement to distribute crack cocaine between Jackson and German and/or Smith, and

 conclusory statements denying involvement in any conspiracy. The alleged impossibility

 with Gay’s testimony was not only dismissed by the Fifth Circuit on appeal, but can also be

 thrown out by Petitioner’s own testimony that he purchased drugs from Gay. See

 Memorandum in Support of Movant § 2255 Motion pg. 12. The other arguments challenge

 the sufficiency of the evidence but do not actually make a colorable showing of factual

 innocence. The Court will not reconsider these arguments.


                                       Page 7 of 19
Case 5:04-cr-50134-RGJ-MLH        Document 290       Filed 04/12/11     Page 8 of 19 PageID #:
                                         1292



        3. Ineffective Assistance of Counsel

        The general rule prohibiting a defendant from raising claims on collateral review

 absent “cause” and “actual prejudice” does not apply to claims of ineffective assistance of

 counsel. Massaro v. United States, 538 U.S. 500, 504, 123 S.Ct. 1690, 1693, 155 L.Ed. 2d

 714 (2003). This “procedural-default rule is neither a statutory nor constitutional

 requirement, but it is a doctrine adhered to by the courts to conserve judicial resources and

 to respect the law’s important interest in the finality of judgments.” Id. at 503. Requiring a

 criminal defendant to bring claims of ineffective assistance of counsel on a direct appeal

 does not promote these objectives. Id. A claim of ineffective assistance of counsel cannot

 be properly resolved on appeal because there has been no opportunity to develop the

 record on the merits of these allegations. United States v. Alanis, 88 Fed. Appx.15, 19 (5th

 Cir. 2004). Thus, a criminal defendant is permitted to bring ineffective assistance of counsel

 claims in a collateral proceeding under § 2255, regardless of whether such claims could

 have been raised on direct appeal. Id.

        To prevail on claims of ineffective assistance of counsel, Jackson must prove (1)

 that his counsel’s actions fell below an objective standard of reasonableness and (2) that

 his counsel’s ineffective assistance was prejudicial. See Strickland v. Washington, 466 U.S.

 668, 104 S.Ct. 2052, 80 L.Ed.2d 674 (1984); Bryant v. Scott, 28 F.2d 1411, 1414-15 (5th

 Cir. 1994). Under the first prong of the Strickland analysis, Jackson must show that his

 counsel “made errors so serious that counsel was not functioning as the ‘counsel’

 guaranteed the defendant by the Sixth Amendment.” Strickland, 466 U.S. at 687. The court

 is to presume that the attorney’s actions are encompassed within the wide range of

 reasonable competence and fall under the ambit of trial strategy. The defendant may

                                        Page 8 of 19
Case 5:04-cr-50134-RGJ-MLH        Document 290       Filed 04/12/11    Page 9 of 19 PageID #:
                                         1293



 overcome this presumption only by showing that under the “totality of the circumstances,”

 the attorney’s performance was “outside the wide range of professionally competent

 assistance.” Id., 466 U.S. at 690, 104 S.Ct. at 2066.

        Under the second prong of the Strickland test, Jackson must show “that there is a

 reasonable probability that, but for counsel’s specified errors, the result of the proceeding

 would have been different.” Murray v. Maggio, 736 F.2d 279, 282 (5th Cir. 1984). “A

 reasonable probability is a probability to undermine confidence in the outcome.” Strickland,

 466 U.S. at 690, 104 S.Ct. at 2066. Jackson must demonstrate that the attorney’s actions

 “were so serious as to render the proceeding unreliable and fundamentally unfair.” United

 States v. Saenz-Forero, 27 F.3d 1016 1021 (5th Cir. 1994) citing Lockhart v. Fretwell, 506

 U.S. 364, 372, 113 S.Ct. 838, 844, 122 L.Ed.2d 180 (1993). If Jackson fails to establish

 either prong of the Strickland test, his claim of ineffective assistance of counsel must be

 denied. See Tucker v. Johnson, 115 F.3d 276, 280 (5th Cir. 1997); Bryant v. Scott, 28 F.3d

 1411, 1415 (5th Cir. 1994); Williams v. Collins, 16 F.3d 626, 631 (5th Cir. 1994).

               a. Failure To Properly Challenge the Conspiracy Charge

        The defendant argues that his attorney did not properly challenge the prosecutor’s

 theory of conspiracy in this case. Specifically, defendant argues that counsel failed to

 conduct a reasonable investigation into the facts of the case so he could prove that the

 three conspirators, Richard Jackson, Eric German, and Felicia Smith, were not connected

 by an agreement or conspiracy.

        In Strickland v. Washington, the Supreme Court discussed pretrial investigation as

 follows:



                                        Page 9 of 19
Case 5:04-cr-50134-RGJ-MLH         Document 290 Filed 04/12/11           Page 10 of 19 PageID
                                        #: 1294



               Counsel has a duty to make reasonable investigations or to
               make a reasonable decision that makes particular
               investigations unnecessary. In any ineffectiveness case, a
               particular decision not to investigate must be directly assessed
               for reasonableness in all the circumstances, applying a heavy
               measure of deference to counsel’s judgments.

 Strickland v. Washington, 104 S.Ct. at 2066.

        Strickland does not require an interview of every claimed eyewitness, alibi witness,

 and/or assertedly exculpating criminal co-participant. Bryant v. Scott, 28 F.3d 1411, 1419

 n.13 (5th Cir. 1994). The record and trial transcripts show that Jackson’s counsel did in fact

 conduct an adequate investigation into the facts- specifically into Kelvin Gay’s background.

 Counsel’s investigation and knowledge of the facts is evident throughout the course of the

 trial. Through cross-examination counsel established that during some of the events which

 Gay testified to he was actually in prison2, and that Jackson and Gay were rarely out of

 prison at the same time. Furthermore, counsel challenged Gay’s testimony linking Jackson

 to Eric German, Felicia Smith, and Dommneaka Green. Counsel was even able to

 established that Dommneaka Green did not know Richard Jackson3, and filed a motion to

 suppress the pen register showing 279 phone calls between Jackson and German.

 Counsel also offered up a compelling theory as to when and why Gay first mentioned

 Jackson to authorities and challenged the physical impossibility of parts of Gay’s testimony.



        2
        Such as when Felicia Smith and Dommneaka Green picked up money or delivered
 drugs to Jackson.
        3
          Green testified that she did not know Jackson, but her answer did not exclude the
 possibility that she had seen him during an alleged delivery of cocaine. Even assuming that
 her answer could be interpreted to mean that she had never seen or heard of Jackson, the
 jury was free to disregard or give a lower weight to any testimony which they did not find
 credible or accurate.

                                        Page 10 of 19
Case 5:04-cr-50134-RGJ-MLH         Document 290 Filed 04/12/11           Page 11 of 19 PageID
                                        #: 1295



 While counsel’s attempts to challenge the government’s case of conspiracy ultimately

 proved unsuccessful, this Court finds that when considering the totality of the

 circumstances, counsel’s actions in challenging the evidence did not fall below an objective

 standard of reasonableness, were within the wide range of professionally competent

 assistance, nor did counsel make errors so serious that he was not functioning as counsel

 as guaranteed by the Sixth Amendment.

        However, out of an abundance of caution, this Court will also analyze the second

 prong of the Strickland analysis. “[I]t is not enough for the defendant to show that the errors

 had some conceivable effect on the outcome of the proceeding”; rather, he must

 demonstrate a “reasonable probability that, but for counsel's unprofessional errors, the

 result of the proceeding would have been different.” Id. at 693, 104 S.Ct. at 2067-68.

 Petitioner’s conclusory allegations are insufficient to demonstrate prejudice. Jackson has

 not provided this Court with evidence that, if discovered by trial counsel, would have

 changed the outcome of the case. The evidence and arguments provided by Petitioner

 contain inaccuracies and unsupported allegations. These arguments have already been

 summarily rejected by this Court and the Fifth Circuit Court of Appeals in Jackson’s earlier

 appeal. Petitioner’s claim also fails the second prong of the Strickland test.

               b. Failure To Object To Gay’s Statements Concerning Jackson

        Jackson also alleges that his counsel failed to object to Kelvin Gay’s statements

 which he claims fell outside of the FED. R. EVID. 801(d)(2)(E) exception. However, Gay’s

 testimony as to what Eric German told him regarding Jackson’s involvement in the drug

 sales are admissible as a co-conspirator’s statement made during the course of a

 conspiracy under FED. R. EVID. 801(d)(2)(e). According to United States v. Cornett, the

                                        Page 11 of 19
Case 5:04-cr-50134-RGJ-MLH          Document 290 Filed 04/12/11           Page 12 of 19 PageID
                                         #: 1296



 government does not have to prove a co-conspiracy beyond a reasonable doubt before

 such testimony concerning statements of a co-conspiracy in the furtherance of the

 conspiracy is admissible as evidence. 195 F.3d 776 (5th Cir.              1999). Under Rule

 801(d)(2)(e), the proponent of admittance must prove by a preponderance of the evidence

 (1) the existence of the conspiracy, (2) the statement was made by a co-conspirator of the

 party, (3) the statement was made during the course of the conspiracy, and (4) the

 statement was made in furtherance of the conspiracy. Id. at 782. While Petitioner’s counsel

 did not object to Gay’s testimony concerning Jackson, such an objection would have been

 overruled. Through the testimony of the case agents and the officers, the government had

 already proven by a preponderance of the evidence the four required elements. Any such

 objection to the statements made by Kelvin Gay would have been meritless and therefore

 would have been denied. The attorney cannot be ineffective for failing to raise a meritless

 claim. Sones v. Hargett, 61 F.3d 410, 415 n. 5 (5th Cir. 1995) (“Counsel cannot be deficient

 for failing to press a frivolous point.”); United States v. Gibson, 55 F.3d 173, 179 (5th Cir.

 1995) (“Counsel is not required by the Sixth Amendment to file meritless motions.”); Koch

 v. Puckett, 907 F.2d 524, 527 (5th Cir. 1990) (“[C]ounsel is not required to make futile

 motions or objections.”)

               c. Failure To Request Specific Jury Instructions On Conspiracy

        The Petitioner next argues that his counsel was ineffective because he failed to

 request that the jury be given specific instructions that the prosecutor must prove that

 Petitioner had an agreement with Eric German and/or Felicia Smith and Petitioner’s actions

 were in furtherance of this conspiracy. This argument has no legal standing because

 counsel did request in writing that the jury be given Fifth Circuit pattern jury instructions as

                                         Page 12 of 19
Case 5:04-cr-50134-RGJ-MLH          Document 290 Filed 04/12/11            Page 13 of 19 PageID
                                         #: 1297



 to the government’s burden of proof on the conspiracy charge. Jury instructions, as a

 whole, should encompass “a correct statement of the law” and should clearly instruct

 “jurors as to the principles of the law applicable to the factual issues confronting them.”

 United States v. Wise, 221 F.3d 140, 147 (5th Cir. 2000); United States v. Bell, 367 F.3d

 452, 469 (5th Cir. 2004). Regardless of whether or not counsel made such request that the

 jury be given specific instructions as to what the government was required to prove

 concerning Petitioner and German and Smith, the Court gave the jury instructions which

 comprehensively laid out an accurate statement of the principles of law applicable to the

 factual issues at hand. Jury instruction three (3) laid the legal standard and definition of

 “burden of proof”; jury instruction twenty-three (23) gave the relevant law requiring the jury

 find that this specific conspiracy in Count Two of the indictment be proven, and not some

 other conspiracy; jury instruction twenty-four(24) laid out the legal definition of “conspiracy”

 and what the government must prove; and jury instruction twenty-six (26) gave each and

 every element which the government was required to prove beyond a reasonable doubt as

 per the conspiracy between Richard Jackson, Eric German, and Felicia Smith. This Court

 hereby finds that trial counsel was effective in his request for specific jury instructions under

 the first prong of the Strickland analysis, and that Petitioner was not prejudiced by counsel’s

 actions pertaining to the jury instructions, as the jury was given accurate instructions on

 what must be proven with regard to the conspiracy in Count Two.

               d. Failure To Request Specific Jury Instructions On the Defense of
               Buyer/Seller Relationship

        Next, Petitioner argues that counsel failed to request jury instructions pertaining to

 the defense that there was only a buyer/seller relationship, and not an actual conspiracy.


                                         Page 13 of 19
Case 5:04-cr-50134-RGJ-MLH         Document 290 Filed 04/12/11           Page 14 of 19 PageID
                                        #: 1298



 This Court notes that such argument was not articulated in the memorandum in support of

 the § 2255 motion but rather was raised in Petitioner’s reply to the government’s answer

 to the § 2255 motion. This argument fails for two reasons. First, the defense that there was

 only a buyer/seller relationship was never raised at any point during the trial. While

 defendants are entitled to jury instructions on any recognized defense for which there exists

 evidence sufficient for a reasonable jury to find in their favor, Mathews v. United States,

 485 U.S. 58, 63, 108 S.Ct. 883, 886-87, 99 L.Ed.2d 54 (1988), the defense that the

 evidence only showed a buyer/seller relationship was never given during trial. Petitioner’s

 defense was that Jackson never purchased drugs from Gay because they were not out of

 prison at the same time during the relevant time period. This argument was made during

 both the cross-examination of Gay and closing arguments. Petitioner’s attorney claimed

 that Gay was lying and that Jackson had never purchased drugs from Kelvin Gay, Eric

 German, or Felicia Smith, not that their was a buyer/seller relationship.

          Petitioner cites United States v. Maseratti as the basis for the buyer/seller

 relationship jury instructions. 1 F.3d 330, 336 (5th Cir. 1993). However, in this case the

 Fifth Circuit Court of Appeals ruled that buyer/seller relationship jury instructions were not

 necessary or required in a drug conspiracy case because the jury instructions

 encompassing the definition and elements of conspiracy cover the relevant law concerning

 buyer/seller relationships. If the evidence showed that a defendant is merely a buyer or

 seller, the elements necessary to prove a conspiracy would be lacking, and a not guilty

 verdict would result. Maseratti, 1 F.3d at 336. If jury instructions accurately reflect the law

 on conspiracy, the buyer-seller relationship has been adequately covered by this other

 instruction. Id. (citing United States v. L'Hoste, 609 F.2d 796, 805 (5th Cir. 1980), cert.

                                        Page 14 of 19
Case 5:04-cr-50134-RGJ-MLH         Document 290 Filed 04/12/11           Page 15 of 19 PageID
                                        #: 1299



 denied, 449 U.S. 833, 101 S.Ct. 104, 66 L.Ed.2d 39 (1980)). In our case the jury instruction

 on conspiracy accurately reflected the law on conspiracy and separate jury instructions on

 buyer/seller relationships were not necessary. Counsel was not ineffective and Petitioner

 did not suffer prejudice for counsel’s failure to raise this meritless claim.

               e. Failure To Request Relief from Prejudicial Joinder

        Petitioner claims that counsel was ineffective for failure to request relief from

 prejudicial joinder under Rule 14 of the Federal Rules of Criminal Procedure. The general

 rule is that “‘persons indicted together should be tried together, especially in conspiracy

 cases, and . . . the mere presence of a spillover effect does not ordinarily warrant

 severance . . . .’” United States v. Moser, 123 F.3d 813, 828 (5th Cir. 1997) (quoting United

 States v. Pofahl, 990 F.2d 1456, 1483 (5th Cir.1993)). That separate trials might have

 afforded the defendant “a better chance of acquittal” does not justify a severance. Id. at

 828. To obtain a severance based on a defendant's desire to call a co-defendant as a

 witness on his behalf so as to exercise a Sixth Amendment right, the defendant must

 establish a bona fide need for the testimony, the substance of the desired testimony, the

 exculpatory effect of the desired testimony, and indication that the co-defendant would

 indeed testify at a separate trial. United States v. Nguyen, 493 F.3d 613, 625 (5th Cir. 2007)

 citing United States v. Kane, 887 F.2d 568, 573 (5th Cir.1989); United States v. Nutall, 180

 F.3d 182, 187 (5th Cir.1999). Under that test, without an affidavit from the co-defendant

 himself or other similar proof, “conclusory allegation[s]” that a co-defendant would testify

 and what he or she would testify about is not sufficient. See United States v. Sparks, 2 F.3d

 574, 583 & n. 10 (5th Cir.1993) (listing precedent); United States v. Neal, 27 F.3d 1035,

 1047 (5th Cir.1994). The argument made by Petitioner alleging that he told his attorney

                                        Page 15 of 19
Case 5:04-cr-50134-RGJ-MLH          Document 290 Filed 04/12/11           Page 16 of 19 PageID
                                         #: 1300



 before trial that German would testify on his behalf that German never gave Kelvin Gay any

 drugs4 or that the person named “Black” referred to on the drug ledger was not Petitioner

 are purely conclusory. These allegations are neither supported by an affidavit nor any other

 evidence. An attorney cannot be ineffective for failing to raise a meritless claim. Sones v.

 Hargett, 61 F.3d 410, 415 n. 5 (5th Cir. 1995). Because Jackson did not present any

 affidavit or similar proof from German that German would testify on Jackson’s behalf,

 defendant had no legal standing to mandate that the defendants be tried separately. In the

 absence of such evidence, a failure to file a motion to sever would not fall below an

 objective standard of reasonableness.

               f. Failure To Prove Facts that Could Have Exonerated Jackson on
               Appeal

        Finally, Petitioner argues that counsel failed to prove facts and show evidence that

 would have exonerated Jackson on appeal. While Petitioner does not show the Court how

 and which facts his counsel could have proven on appeal to exonerate him of Count Two,

 it appears to this Court that Petitioner is referencing the false allegation that Kelvin Gay was

 in a correctional facility during the time period in which he testified he delivered crack

 cocaine and picked up money from Jackson, the price Gay testified that Jackson paid for

 the crack was an “unheard of price,” and Dommneaka Green’s testimony that she did not

 know Jackson. The Strickland standard applies to claims of ineffective assistance of

 counsel on appeal and requires showing of both a failure of counsel to perform according

 to reasonable professional standards and prejudice to the defendant. Wicker v. McCotter,



        4
       (meaning that Gay could not have given Petitioner drugs which Gay testified came
 from German).

                                         Page 16 of 19
Case 5:04-cr-50134-RGJ-MLH         Document 290 Filed 04/12/11          Page 17 of 19 PageID
                                        #: 1301



 783 F.2d 487, 497 (5th Cir. 1986). “This reasonableness standard requires counsel ‘to

 research relevant facts and law, or make an informed decision that certain avenues will not

 prove fruitful. Solid, meritorious arguments based on directly controlling precedent should

 be discovered and brought to the courts attention.” United States v. Phillips, 210 F.3d 345,

 348 (5th Cir. 2000)(quoting United States v. Williamson, 183 F.3d 458, 462-63 (5th Cir.

 1999). A petitioner suffers prejudice if, but for the deficient performance, the outcome of

 the trial– or in this case, the appeal– would have been different.” Amador, v. Quarterman,

 458 F.3d 397, 411 (5th Cir. 2006).

        Counsel’s performance on appeal did not fall below a reasonable professional

 standard. The argument as to the time period in which the transactions between Gay and

 Jackson took place was thoughtfully and articularly made in the appeal brief. In the appeal

 brief counsel specifically challenges the sufficiency of the evidence and presents facts in

 a similar way to that which Petitioner is saying should have been done. Given the specific

 language which the court of appeals used in the denial of the relief on the conspiracy

 charge5 and the subsequent admission by Petitioner to purchasing drugs from Gay, there

 does not appear to be any other viable argument which counsel could have raised on

 appeal that would have granted him relief. The testimony concerning the “price of the

 drugs” is purely speculative and without merit. Prices for illegal drugs on the black market

 can fluctuate rapidly based on a number of varying factors. The jury is allowed to weigh the

 credibility of each witness in accordance with the law and their belief that such a price was

 paid for 18 ounces of crack cocaine is rational. The jury was also permitted to weigh the



        5
         Supra, page 7 of this ruling.

                                         Page 17 of 19
Case 5:04-cr-50134-RGJ-MLH          Document 290 Filed 04/12/11        Page 18 of 19 PageID
                                         #: 1302



 credibility of Dommneaka Green and were free to disregard her statement that she did not

 know Jackson. Given the circumstances of trial and the fact that Dommneaka Green did

 not want to testify, such a determination that her testimony was not credible or completely

 accurate is also rationale. The Court finds that Jackson’s counsel on appeal did provide

 professionally competent assistance and Jackson was not prejudiced.

          4. Liberty Interest created by 21 U.S.C. § 852

          Petitioner argues that 21 U.S.C. § 852 creates a liberty interest in receiving some

 alternative form of treatment other than conviction or criminal penalties for those who

 violate federal drug laws. Petitioner does not cite to, nor has the Court found, any case or

 statute which provides that § 852 gives a convicted prisoner relief from conviction or

 criminal penalties. Rather, § 852 simply deals with treaties or other international

 agreements and is wholly irrelevant and has no affect on the present case before this

 Court.

                                        CONCLUSION

          The Court finds Jackson is unable to make a colorable showing of factual innocence.

 Jackson’s claim of insufficient evidence to prove Count Two are not cognizable under 28

 U.S.C. § 2255 and nevertheless are without merit. In addition, Jackson failed to establish

 that he receive ineffective assistance of counsel or that he was prejudiced by such

 performance. Accordingly, Jackson’s Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside,

 or Correct Sentence (Record Document 230) shall be DENIED.

          Pursuant to Rule 11(a) of the Rules Governing 2255 proceedings for the United

 States District Courts, this Court must issue or deny a certificate of appealability when it



                                        Page 18 of 19
Case 5:04-cr-50134-RGJ-MLH         Document 290 Filed 04/12/11           Page 19 of 19 PageID
                                        #: 1303



 enters a final order adverse to the applicant. “Before entering the final order, the court may

 direct the parties to submit arguments on whether a certificate should issue.” Rule 11(a)

 Rule Governing Section 2255 Proceedings for the United States District Courts (emphasis

 added). Unless a Circuit Justice or District Judge issues a certificate of appealability, an

 appeal may not be taken to the court of appeals.

        In this instance, a certificate of appealability is DENIED because the applicant has

 failed to demonstrate a substantial showing of the denial of a constitutional right.

        An order consistent with this Memorandum Ruling shall issue herewith.

        THUS DONE AND SIGNED in Shreveport, Louisiana, this 12th day of April, 2011.




                                        Page 19 of 19
